                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                             No. CR16-1018-LTS
 vs.                                                         ORDER
 ANTWAIN DESHAUN SPRATT, a/k/a
 T,
               Defendant.
                                  ____________________

                                  I.    BACKGROUND
       On June 8, 2016, defendant was charged in Counts 1, 7 and 14 of a fourteen-count
superseding indictment. Count 1 was later dismissed. See Doc. No. 110. On December
13, 2016, defendant appeared before the Honorable Jon Stuart Scoles, then-Chief United
States Magistrate Judge, and entered a plea of guilty to Count 7 of the superseding
indictment. I accepted that guilty plea on December 28, 2016.
       On January 31, 2017, defendant appeared before the Honorable C.J. Williams,
Chief United States Magistrate Judge, and entered an Alford plea to Count 14 of the
superseding indictment.      On February 1, 2017, Judge Williams filed a Report and
Recommendation (R&R) in which he recommended that defendant’s Alford plea be
accepted. Doc. No. 192. No objections to the R&R were filed. I therefore undertake
the necessary review of Judge Williams’ recommendation to accept defendant’s Alford
plea in this case.


                            II.   APPLICABLE STANDARDS
       A district judge must review a magistrate judge’s R&R in a criminal case under
the following standards:



    Case 2:16-cr-01018-LTS-MAR         Document 213   Filed 02/22/17   Page 1 of 3
       Within fourteen days after being served with a copy, any party may serve
       and file written objections to such proposed findings and recommendations
       as provided by rules of court. A judge of the court shall make a de novo
       determination of those portions of the report or specified proposed findings
       or recommendations to which objection is made. A judge of the court may
       accept, reject, or modify, in whole or in part, the findings or
       recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.

28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).




                                             2


   Case 2:16-cr-01018-LTS-MAR          Document 213      Filed 02/22/17     Page 2 of 3
                                   III.     DISCUSSION
       Because neither party objects to the R&R, I have reviewed it for clear error. Based
on that review, I am not “left with the definite and firm conviction that a mistake has
been committed.” Anderson, 470 U.S. at 573-74. As such, I hereby accept the R&R
without modification and accept defendant’s Alford plea in this case as to Count 14 of
the superseding indictment.1


       IT IS SO ORDERED.
       DATED this 22nd day of February, 2017.




                                            ________________________________
                                            LEONARD T. STRAND
                                            CHIEF UNITED STATES DISTRICT JUDGE




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  United States v. Cortez-Hernandez, --- F. App’x ---, 2016 WL 7174114 (8th Cir. Dec. 9, 2016)
(per curiam), suggests that a defendant may have the right to de novo review of a magistrate
judge’s recommendation to accept a plea of guilty even if no objection is filed. But see 28
U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). I will undertake a de novo review of the R&R if
a written request for such review is filed within seven (7) days after this order is filed.
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    Case 2:16-cr-01018-LTS-MAR            Document 213     Filed 02/22/17    Page 3 of 3
